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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION


              CINDY LAUB                            )
               Plaintiff(s),                        )
                                                    )
                                                    )
                    v.                              )         Case No. 4:21-cv-00508-RWS
                                                    )
        ALLSTAFF TECHNICAL                          )
        SOLUTIONS, INC. et al.                      )
             Defendant (s).                         )


                  ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT

                         Complete one option and file this report with the Clerk’s Office:

_____________________________________________________________________________________
                                                    Option 1

☐       The neutral elects to extend the deadline for completing ADR for 14 days and will continue efforts
to    assist  the     parties    in    reaching     a   settlement.  Revised     completion     deadline:
_____________________________________. Such an election by the neutral is permitted once during
the span of a mediation in a single case. If the parties require more time to complete mediation, lead
counsel must file a motion with the Court.

____________________________________________________________________________________
                                                    Option 2

☒       An ADR conference was held on:                                 July 12, 2021                        .

         All required individuals, parties, counsel of record, corporate representatives, and/or claims
professionals attended and participated in the ADR conference in good faith, and each possessed the
requisite settlement authority;

        The following individuals, parties, counsel of record, corporate representatives, and/or claims
professionals failed to appear and/or participate in good faith as ordered: _______________________
__________________________________________________________________________________.

        The ADR referral was concluded on July 12, 2021             . The parties [☒ did       ☐ did not]
achieve a settlement.                                                                     Check One


____________________________________________________________________________________
                                                    Option 3

☐      Although this case was referred to ADR, a conference WAS NOT HELD.
_____________________________________________________________________________________


                Date:     July 26, 2021        Neutral:      /s/ Francis X. Neuner, Jr.
